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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    UNITED STATES OF AMERICA,

          Plaintiff,

    v.                                               Case No. 8:02-cr-111 -T-17MAP

    JOSEPH CUCINIELLO,

          Defendant.


                             FINAL JUDGMENT OF FORFEITURE

          THIS CAUSE comes before the Court on Motion of the United States for Entry of

    a Final Judgment of Forfeiture for the following real properties:

                  a.    $46,084.33 in lieu of real property located at 4939 Augusta Avenue,
                        Oldsmar, Florida; and

                  b.    Funds in the amount of $1 6,302.31, held in the name of Joseph
                        Cuciniello and Bonnie Cuciniello at the AmSouth Bank, Account
                        Number 328308351 0.

          The Court, having been fully advised in the premises, finds as follows:

          1.      On November 22, 2005, the Court granted the United States'

    motion and entered the Preliminary Order of Forfeiture (Doc. 1353), forfeiting to the

    United States of America all right, title, and interest of defendant Joseph Cuciniello in

    the properties as substitute assets.

          2.      On December 21, 2005, the United States and petitioner Bonnie

    Cuciniello entered into a Stipulated Settlement Agreement as to the real property

    located at 4939 Augusta Avenue, Oldsmar, Florida. The United States agreed to the

    sale of the real property and forfeiture of $46,084.33 in lieu of the property. (Doc.
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    1405).

             3.    In accordance with the provisions of 21 U.S.C. § 853(n), the United

    States published notice of the forfeiture, and of its intent to dispose of the properties, in

    the St. Petersburg Times, a newspaper of general circulation in Pinellas County, Florida

    on December 5, 2005, December 12, 2005 and December 19, 2005 and in the Tampa

    Tribune, a newspaper of general circulation in Hillsborough County, Florida on

    September 26,2007, October 3, 2007, and October 10,2007. (Docs. 1431 and 1792).

    The publication gave notice to all third parties with a legal interest in the subject

    property to file with the Office of the Clerk, United States District Court, Middle District of

    Florida, Sam Gibbons Federal Courthouse, 2"d Floor, 801 North Florida Avenue,

    Tampa, Florida 33602, a petition to adjudicate their interest within 30 days of the final

    date of publication.

             4.    No persons or entities, other than the defendant Joseph Cuciniello,

    whose interest was forfeited to the United States in the Preliminary Order of Forfeiture

    and Bonnie Cuciniello, whose claim has been settled, are known to have an interest in

    the subject properties. No third party has filed a Petition to Adjudicate Interest in the

    subject properties to date, and the time for filing such Petition has expired.

             5.    The Court finds that the subject properties are the property of defendant

    Joseph Cuciniello.

             Accordingly, it is hereby

             ORDERED, ADJUDGED and DECREED that the United States' motion is

    GRANTED. It is FURTHER ORDERED that all right, title and interest in the following

    properties are CONDEMNED and FORFEITED to the United States of America,
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     pursuant to the provisions of Fed. R. Crim. P. 32.2(~)(2)and 21 U.S.C. § 853(p) as

     incorporated by 18 U.S.C. 5 982(b)(1), for disposition according to law:

                  a.     $46,084.33 in lieu of real property located at 4939 Augusta Avenue,
                         Oldsrnar, Florida; and

                  b.     Funds in the amount of $16,302.31, held in the name of Joseph
                         Cuciniello and Bonnie Cuciniello at the AmSouth Bank, Account
                         Number 3283083510.

     Clear title to the properties
                        .  .       are now vested in the United States of America.      ,
           DONE and ORDERED in Chambers in Tampa. Florida, this          s      g&
                                                                                 day of




     Copies to: Adel
                Attorneys of Reco
